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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

 

Vv. )
Victor Martinez See Ne:
)
)
oo a )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Victor Martinez ;
who is accused of an offense or violation based on the following document filed with the court:

© Indictment O Superseding Indictment © Information © Superseding Information [{ Complaint

© Probation Violation Petition O Supervised Release Violation Petition O Violation Notice O Order of the Court
This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1)- Entering and Remaining ina Restricted Building or Grounds

18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building

40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building

 

oi ee Zia M. Faruqui
a 2023.01.20 14:22:02 -05'00'
Date: 01/20/2023 oo oan pe ee
Issuing Officer's signature
City and state: _ Washington, D.C. _ __ ee Honorable Zia M. Faruqui

 

UNITED STATES MAGISTRATE JUDGE

 

Return

This warrant was received on (date) [a0 [0 » A 4_ and the person was arrested on (date) fa W3 a3.
at (city and state) San tinfard 3 Té yas _t .

Date: / UL. (24 /a023

 

 

Lt y ssn e420 Teak face WCE
Printed name and title Fi AL

 

 

 
